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UN|TED STATES DISTRlCT COURT
WESTERN D|STR|CT OF NEW YORK

 

UN|TED STATES OF AN|ER|CA,

DEClSlON AND ORDER
vS. 17-CR-6016/'1 7-CR-60171
RICHARD LEON W|LBERN,

Defendant.

 

Assistant Federal Public Defenders Anne Burger and Sonya Zoghlin, of the
Federal Public Defenders Office of the Western District of New York, having been
assigned to represent the above-named defendant, brought to the Court’s attention, ex
pan‘e, a potential conflict of interest resulting from their office’s concurrent representation
of their client, Richard Leon Wilbern and another individual named Thomas Terrell Lofton.
Ms. Burger and Ms. Zoghlin are assigned to the Rochester Division of the Federal Public
Defender’s Office for the Western District of New York. lVlr. Lofton Was being represented
by members of the Buffalo Division on a motion currently pending before the Second
Circuit Court of Appeals seeking permission to file a second or successive habeas motion
pursuant to Johnson v. United States, 135 S.Ct. 2551 (2015). The motion is presently
stayed pending a decision in United States v. Barrett, 14-;641. l\/ls. Burger and Ms.
Zoghlin only learned of the potential conflict through discovery provided by the

Government in connection With the above captioned cases. l\/ls. Burger and l\/ls. Zoghlin

 

1 All docket references are to 17-CR-6017_

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brought the potential conflict to the Court’s attention ex parte in order to maintain client

confidences relating to their representation of l\/lr. Wilbern.

Upon being informed of the potential conflict, the Court identified New York Rule

of Professional Responsibility 1.7 as applicable to the situation lt should be noted that

attorneys who practice in the Western District of New York must comply with the New

York Rules of Professional Responsibility. The Court then undertook a careful and

extensive review of the matter, which included in camera, ex parte proceedings and the

submission of memoranda and materials under seal.2 The Court’s review consisted of

the following:

Docket No.

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Document

l\/linute entry of ex parte proceeding held on l\/lay 7,
2018 - transcript to be sealed.

l\/linute entry of ex parte proceeding held on l\/lay 21,
2018 -,- transcript to be sealed.

l\/linute entry of ex parte proceeding held on l\/lay 30,
2018 - transcript to be sealed.

l\/linute entry of ex parte proceeding held on l\/lay 30,
2018 - transcript to be sealed.

April 25, 2018 correspondence from Ms. Burger - filed
underseak

May 17, 2018 correspondence from l\/ls. Burger

with attached memorandum - filed under seal;

2 For each ex parte proceeding, the Court has directed the court reporter present to prepare the transcript
and file it under seal in the event it would be needed for any type of appellate review_

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l\/lay 29, 2018 memo from Ms. Zoghlin - filed under
seal;

June 4, 2018 memo from Ms. Zoghlin - filed under
seal;

l\/linute entry of ex parte proceeding held on June 5,
2018 - transcript filed under seal (ECF No. 60);
Waiver of Conflict of interest (unredacted) of

Richard Leon Wilbern - filed under seal;

Waiver of Conflict of interest as to Thomas Terrell
LoHon;

l\/linute entry of ex parte conference held on

June 11, 2018, appointing David Rothenberg, Esq., as
conflict free counsel to represent Thomas Terrell
Lofton - filed under seal;

l\/linute entry of ex parte conference held on June 12,
2018, appointing Scott Green, Esq., as conflict free
counsel to represent defendant - filed under seal;
June 21, 2018 correspondence to the Court from Ms.
Zoghlin;

Waiver of Conflict of lnterest (redated) as to Richard

Leon Wilbern;

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68 June 27, 2018 correspondence to the Court from

Marianne l\/iarianno with order from Second Circuit

anached;

69 Professor Roy D. Simon’s opinion letter (redacted);

70 Professor Roy D. Simon’s opinion letter - filed under
seal;

71 New York State Bar informal opinion - filed under seal.

As indicated above that the submissions to the Court included an informal opinion
from the New York State Bar Association (ECF No. 71) and a letter opinion (ECF No. 70)
from Professor Roy D. Simon, author of Simon’s New York Rules of Professional Conduct
Annotated, both indicating that the conflict was waivable and the circumstances under
which iVis. Burger and iVis. Zoghlin could continue to represent l\/ir. Wilbern,

At a June 22, 2018, appearance in open court, the Court, in great detail, reviewed
what had occurred to date, as well as its conclusions with respect to the potential confiict.
The transcript of the June 22, 2018 appearance is attached and made part of this Decision
and Order.

Based upon the above, the Court makes the following findings:

1. Pursuant to the New York Rule of Professional Responsibility 1.7, the conflict

situation at issue is waivabie;

2. Richard Leon Wilbern, being represented by conflict free counsei, knowingiy,

intelligently and voluntarily waived the potential conflict orally and in writing;

3. Thomas Terrell Lofton, being represented by conflict free counsel, knowingly,

intelligentally and voluntarily waived the potential conflict orally and in writing;

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4. The Federal Public Defender’s Office no longer represents Thomas Terrell
Lofton having been granted permission to withdraw as his counsel by the
Second Circuit Court of Appeals. (ECF No. 68);

5. Anne Burger and Sonya Zoghlin, counsel for l\/ir. Wilbern, have no knowledge
of any client confidences relating to their office’s representation of Thomas
Terrell Lofton;

6. The Federal Public Defender i\/iarianne i\/lariano promptly took steps to erect
an ethical wali, which includes an electronic component, guaranteeing that
i\/is. Burger and l\/is. Zoghlin cannot access any information relating to their
offices now prior representation of Thomas Terrell Lofton. in fact, only i\/is.

i\/lariano and her systems administrator can access such information.

Accordingly, the Court concludes that i\/ls. Burger and i\/ls. Zoghlin may now
properly continue to represent Richard Leon Wilbern in the above captioned cases.

DATED: July 2, 2018
Rochester, New York
/s/ Charies J. Siraciusa
CHARLES J. SiRAGUSA
United States District Judge

